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 9

10

11                            UNITED STATES DISTRICT COURT
12                          CENTRAL DISTRICT OF CALIFORNIA
13

14   PAUL SAPAN, individually and on Behalf of Case No.:
15   All Others Similarly Situated,
                                               CLASS ACTION COMPLAINT
16
            Plaintiff,
17
      vs.                                      Violation(s) of Telephone
18                                             Consumer
19   DIRECTV, LLC, DIRECTV                     Protection Act of 1991
     ENTERTAINMENT HOLDINGS LLC
20

21
                      Defendants.                                Jury Trial Demanded
22

23
             Plaintiff PAUL SAPAN (“Plaintiff” or “Mr. Sapan”), individually and on
24
     behalf of the Class described below, by their attorneys, make the following
25
     allegations based upon information and belief, except as to allegations specifically
26
     pertaining to Plaintiffs and their counsel, which are based on personal knowledge.
27

28



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     ________________________________________________________________________________________________________

                                                    Complaint
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 1   Plaintiffs bring this action for injunctive relief and damages against Defendant,
 2   demanding a trial by jury.
 3

 4                             JURISDICTIONAL ALLEGATIONS
 5

 6           1.      Plaintiff at all times herein mentioned was a resident of the County of
 7   Orange, State of California.
 8           2.      Defendant DIRECTV, LLC is, and at all times herein mentioned was,
 9   a limited liability company created in Delaware and whose primary business
10   address is El Segundo, California doing business in the County of Orange, State of
11   California.
12           3.      Defendant DIRECTV ENTERTAINMENT HOLDINGS LLC is, and
13   at all times herein mentioned was, a limited liability company created in Delaware
14   and whose primary business address is El Segundo, California doing business in
15   the County of Orange, State of California.
16           4.      Both Defendants, DIRECTV, LLC and DIRECTV
17   ENTERTAINMENT HOLDINGS LLC will be collectively known as “DIRECTV”
18   or “Defendants”.
19           5.      DIRECTV also has representatives located in and doing business in
20   the State of California.
21           6.      This case is filed pursuant to the Telephone Consumer Protection Act
22   of 1991, 47 U.S.C. §227 et. seq. (“TCPA”). The U.S. Supreme Court recently
23   decided that federals courts have federal question subject matter jurisdiction over
24   such civil actions under 28 U.S.C. §§ 1331 and 1441. Mims v. Arrow Fin.
25   Services, LLC, 132 S.Ct. 740, 753 (2012).
26           7.      Plaintiff is informed and believes and, on such information, and belief
27   alleges that at all times herein mentioned each employee, representative, officer,
28   director, or consultant of any Defendant was acting as its agent.

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                                                    Complaint
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 1

 2                                   NATURE OF THE ACTION
 3

 4           8.      Plaintiffs bring this class action against Defendant for injunctive relief
 5   and damages and all other relief available at law and in equity on behalf of
 6   themselves and members of the following class of persons:
 7           All persons and entities located within the United States of America who
 8           claim to be able to provide a phone bill or statement showing they were a
 9           residential telephone subscriber and that their number was registered on the
10           National Do-Not-Call Registry to whose residential telephone Defendants
11           and/or their agents transmitted two or more telemarketing calls in one
12           calendar year without prior express written consent from the called party or
13           an ‘existing business relationship’ at any time from August 29, 2018 to the
14           present, including up to and through trial, and
15

16           9.      The TCPA was passed in order to regulate telemarketing by
17   prohibiting, inter alia, phone calls to numbers on the federal Do Not Call Registry
18   administered by the Federal Trade Commission (47 U.S.C. § 227(c), 47 C.F.R. §
19   64.1200(c)).
20           10.     DIRECTV sells television services including the use of cold call
21   telemarketing sales, often to residential phone numbers on the protected federal Do
22   Not Call Registry
23           11.     DIRECTV’s telemarketing does not engage in TCPA compliance and
24   the calls are made without prior express written consent or an established business
25   relationship (47 C.F.R. § 64.1200(c) affirmative defenses).
26           12.     DIRECTV is engaging in making illegal telemarketing calls
27   prohibited by the Telephone Consumer Protection Act of 1991 (“TCPA”), which
28



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                                                    Complaint
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 1   gives victims of junk calls a private right of action to sue for the intrusion on their
 2   privacy. 47 U.S.C. § 227(c)(5).
 3           13.     The modus operandi is the same for all the calls in this case,
 4   DIRECTV calls various numbers in the United States to sell DIRECTV’s services.
 5           14.     DIRECTV either has its employees make these sales calls or employs
 6   third-party telemarketing agents to make the sales call for DIRECTV.
 7           15.     DIRECTV and/or its agents do not check the federal Do Not Call
 8   Registry before making these sales calls nor perform any Do Not Call Registry
 9   compliance.
10           16.     If a person, such as Plaintiff, answers a call made directly by a
11   DIRECTV employee, that employee will solicit the recipient to sell DIRECTV’s
12   services.
13           17.     If a person, such as the Plaintiff, answers the call from a third-party
14   telemarketer working on DIRECTV’s behalf they will speak to a live person who
15   gathers information from the victim and who solicits the recipient to sell
16   DIRECTV’s services.
17           18.     Plaintiff is informed and believes and alleges on information and
18   belief that DIRECTV is aware that the telemarketing calls are being made to
19   residential numbers on the Do-Not-Call Registry directly or by using agents.
20           19.     Alternatively, Plaintiff is informed and believes and alleges on that
21   information and belief that DIRECTV is willfully ignorant of the use telemarketing
22   calls to residential numbers on the Do-Not-Call Registry.
23           20.     These cold calls are made to massive lists of phone numbers in the
24   United States with no regard for whether these numbers have been registered on
25   the National Do-Not-Call Registry (“DNC”) or not.
26           21.     DIRECTV has intentionally violated the TCPA in a so-far successful
27   attempt to sell their television packages for years.
28



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                                                    Complaint
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 1                      FACTUAL DETAILS RE NAMED PLAINTIFF
 2

 3           22.     Defendants made sixteen (16) calls to PAUL SAPAN’s home phone
 4   number (310-444-1999) wherein they tried to pitch their financial services on the
 5   following dates and times and using the following Caller ID (“CID”) numbers:
 6       • June 12, 2019, 10:03am CID 800-486-5000; Answered;
 7       • June 12, 2019, 10:03am CID 800-487-5000; Answered;
 8       • June 13, 2019, 11:30am CID 310-695-1807; Missed;
 9       • June 13, 2019, 9:50am CID 310-695-1807; Answered;
10       • June 13, 2019, 10:54am 800-654-5000; Missed;
11       • June 13, 2019, 10:55am 800-654-5000; Answered;
12       • June 18, 2019, 10:21am CID 855-660-8920; Missed;
13       • June 18, 2019, 1:44pm CID 855-660-8920: Missed;
14       • June 18, 2019, 2:23pm CID 855-660-8920; Answered;
15       • June 19, 2019, 8:23am CID 855-660-8920; Missed;
16       • June 19, 2019, 11:13am CID 855-660-8920; Missed;
17       • June 19, 2019, 1142am CID 855-660-8920; Missed;
18       • July 1, 2019, 12:57pm CID 310-444-9681; Answered;
19       • July 1, 2019, 1:55pm CID 310-444-8526; Answered:
20       • July 6, 2019, 9:18am CID 310-444-8139; Answered;
21       • July 19, 2019, 11:07am CID 310-444-8291; Missed;
22           23.     Mr. Sapan’s residential line has been tariffed as a residential line since
23   he was assigned it by the phone company and it has been continuously registered
24   on the National “Do-Not-Call” Registry from at least December 22, 2007 to the
25   present.
26           24.     Mr. Sapan made a log of all the calls he received from DIRECTV
27   during or shortly after receiving the calls and this log includes the date and time of
28   the call and the Caller ID information.

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                                                    Complaint
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 1           25.     A true and correct copy of this call log is attached hereto as Exhibit 1
 2   and incorporated herein as if set forth verbatim and contains Mr. Sapan’s detailed
 3   notes as to what happened during calls he answered.
 4           26.     Mr. Sapan never gave any DIRECTV or any other person, agent, or
 5   employee associated with DIRECTV express written permission to call him, nor
 6   does he have an established business relationship nor personal relationship with
 7   DIRECTV or any other person, agent, or employee associated with DIRECTV.
 8           27.     In just a the short one-month time span from June 12, 2019 to July 19,
 9   2019, DIRECTV transmitted sixteen (16) telemarketing calls to Mr. Sapan’s
10   residential phone (310-444-1999) to try to sell its services.
11           28.     On the first call answered by Mr. Sapan on June 12, 2019, Mr. Sapan
12   spoke with “John” with “DIRECTV” offering Mr. Sapan a discount on his bill.
13   “John” then set up an appointment to come to Mr. Sapan’s house and said
14   DIRECTV would call back to confirm.
15           29.     Mr. Sapan did not agree to any call back.
16           30.     On the second call on June 12, 2019, “John” called back to confirm
17   Mr. Sapan’s phone number, but the meeting never took place.
18           31.     The next answered call was on June 13, 2019 in which a “Bernice”
19   with “DIRECTV” tried to pitch TV services, however the call was dropped.
20           32.     The next answered call was on June 13, 2019 from a “John” with
21   “DIRECTV” pitching cheaper TV service to which Mr. Sapan hung up.
22           33.     The next answered call was on June 18, 2019 from a “Mike” with
23   “DIRECTV” pitching TV service to which Mr. Sapan hung up.
24           34.     The next answered call was on July 1, 2019 from an “Alex Smith”
25   with “DIRECTV” pitching TV service to which Mr. Sapan hung up.
26           35.     The next answered call was on July 1, 2019 from an “Jeff” with
27   “DIRECTV” pitching TV service to which Mr. Sapan hung up.
28



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                                                    Complaint
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 1           36.     The next answered call was on July 6, 2019 from an “Sam” with
 2   “DIRECTV” pitching TV service to which Mr. Sapan hung up.
 3           37.     As to all of the “Missed” calls, Plaintiff alleges that they were made
 4   on behalf of or directly by DIRECTV because all of them except the last
 5   transmitted a Caller ID number that was the exact same as one or more of the calls
 6   from DIRECTV which Mr. Sapan answered and wherein the caller self-identified
 7   as being “with DIRECTV”.
 8           38.     As to the last call, Plaintiff alleges was made by DIRECTV because
 9   of the similarity of the Caller ID number and the closeness in time to the answered
10   calls which were confirmed to be made by DIRECTV.
11           39.     Plaintiff pleads on information and belief that any person whom he
12   spoke with on any “Answered” call is an employee directly for DIRECTV, or in
13   the alternative is an employee of an agent of DIRECTV making illegal
14   telemarketing calls at the direction and control of DIRECTV.
15           40.     Plaintiff pleads on information and belief that to the extent DIRECTV
16   relies on any agent or other entity to make prerecorded telemarketing calls on its
17   behalf, DIRECTV has direct knowledge that such calls are being made to
18   residential numbers and to numbers on the Do Not Call Registry without consent.
19           41.     Alternatively, Plaintiff pleads on information and belief that
20   DIRECTV ratified the making prerecorded telemarketing calls on its behalf by its
21   agents by knowing of the illegal conduct and failing to repudiate the conduct.
22           42.     Plaintiff alleges that since August 29, 2018 to present Defendant may
23   have made more violative calls to Plaintiff’s residential line that he was unable to
24   log or identify at the time and expressly includes claims for them herein even
25   though the specifics of the dates and times are unknown at this time without the aid
26   of discovery.
27

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 1                                LIABILITY OF DIRECTV, LLC
 2

 3           43.     In the “Answered” calls Plaintiff spoke to a person who claimed to be
 4   from “DIRECTV” pitching Television services.
 5           44.     In all of the “Missed” calls the same Caller ID Number was used as at
 6   least one “Answered” call in which Plaintiff spoke to a person who claimed to be
 7   from “DIRECTV” pitching Television services.
 8           45.     On information and belief Plaintiff believes that DIRECTV, LLC is
 9   the formal corporate name for the company that is widely known as “DIRECTV”
10   and holds itself out to the public as “DIRECTV” in its marketing and sales.
11           46.     In all of the answered calls, the person to whom Mr. Sapan spoke
12   stated they were calling on behalf of “DIRECTV”.
13           47.     Plaintiff believes that the persons he spoke to were direct employees
14   of DIRECTV, LLC or direct agents or representatives of DIRECTV, LLC thereby
15   making DIRECTV, LLC liable for the calls.
16           48.     Plaintiff pleads on information and belief that the officers, managers
17   and employees for DIRECTV, LLC knew about the illegal telemarketing calls as
18   alleged above and in fact ordered such calls to be made.
19

20          LIABILITY OF DIRECTV ENTERTAINMENT HOLDINGS LLC
21

22           49.     Plaintiff pleads on information and belief that DIRECTV
23   ENTERTAINMENT HOLDINGS LLC is the parent company of DIRECTV, LLC
24   and they are functionally indistinguishable from one another.
25           50.     DIRECTV ENTERTAINMENT HOLDINGS LLC holds all of the
26   Federal Communications Commissions licenses essential to DIRECTV’s
27   operations. See, In the Matter of Applications of AT&T Inc. (Transferor) and
28



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 1   DIRECTV Entertainment Holdings LLC (Transferee) For Transfer of Control of
 2   DIRECTV Enterprises, LLC, FCC DA 21-838 (July 16, 2021)
 3           51.     DIRECTV ENTERTAINMENT HOLDINGS LLC and DIRECTV,
 4   LLC share the same exact location at 2260 Imperial Highway in El Segundo
 5   California.
 6           52.     Plaintiff pleads on information and belief that to the extent that
 7   DIRECTV ENTERTAINMENT HOLDINGS LLC is a different company from
 8   DIRECTV, LLC that DIRECTV ENTERTAINMENT HOLDINGS LLC is
 9   directly involved in the ownership and operation of DIRECTV, LLC.
10           53.     Plaintiff pleads on information and belief that to the extent that
11   DIRECTV ENTERTAINMENT HOLDINGS LLC is a different company from
12   DIRECTV, LLC that DIRECTV ENTERTAINMENT HOLDINGS LLC ordered
13   DIRECTV, LLC to make the alleged calls to Plaintiff and to the class in violation
14   of the TCPA.
15           54.     Plaintiff pleads on information and belief that to the extent that
16   DIRECTV ENTERTAINMENT HOLDINGS LLC is a different company from
17   DIRECTV, LLC that DIRECTV ENTERTAINMENT HOLDINGS LLC knew or
18   recklessly ignored the fact that DIRECTV, LLC was engaged in making the calls
19   to Plaintiff and to the class in violation of the TCPA.
20           55.     Plaintiff pleads on information and belief that to the extent that
21   DIRECTV ENTERTAINMENT HOLDINGS LLC is a different company from
22   DIRECTV, LLC that DIRECTV, LLC is a direct agent of DIRECTV
23   ENTERTAINMENT HOLDINGS LLC for the purpose of making the calls to
24   Plaintiff and to the class in violation of the TCPA on behalf of DIRECTV
25   ENTERTAINMENT HOLDINGS LLC.
26           56.     Plaintiff pleads on information and belief that to the extent that
27   DIRECTV ENTERTAINMENT HOLDINGS LLC is liable for the calls because of
28   the above-described relationships with DIRECTV, LLC.

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                                                    Complaint
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 1            57.     Plaintiff pleads on information and belief that the persons he spoke to
 2    on answered calls were also agents or representatives of DIRECTV
 3    ENTERTAINMENT HOLDINGS LLC thereby making DIRECTV
 4    ENTERTAINMENT HOLDINGS LLC liable for the calls.
 5            58.     Plaintiff pleads on information and belief that the officers, managers
 6    and employees for DIRECTV ENTERTAINMENT HOLDINGS LLC knew about
 7    the illegal telemarketing calls as alleged above and in fact ordered such calls to be
 8    made.
 9

10

11                              FINAL LIABILITY ALLEGATIONS
12

13            59.     Plaintiff pleads on information and belief that to the extent DIRECTV
14    uses any agents to make calls, DIRECTV has ordered their agent to make the
15    illegal telemarketing calls to numbers on the National “Do-Not-Call” Registry for
16    its benefit.
17            60.     Plaintiff pleads on information and belief that to the extent DIRECTV
18    uses any agents to make calls, DIRECTV knew or reasonably should have known
19    (implied agency), that its agents were was making the illegal telemarketing calls to
20    numbers on the National “Do-Not-Call” Registry and using prerecorded voice calls
21    to residential numbers.
22            61.     Plaintiff pleads on information and belief that to the extent DIRECTV
23    uses any agents to make calls, DIRECTV explicitly condoned the actions of such
24    agents in making the illegal telemarketing calls to numbers on the National “Do-
25    Not-Call” Registry and using prerecorded voice calls to residential numbers for its
26    benefit by condoning their actions afterwards.
27            62.     Plaintiff pleads on information and belief that to the extent DIRECTV
28    uses any agents to make calls, DIRECTV explicitly hired by such agent in order to

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 1    make the illegal telemarketing calls to numbers on the National “Do-Not-Call”
 2    Registry and to use prerecorded voice calls to residential numbers for the benefit of
 3    DIRECTV.
 4

 5               ACTUAL HARM & WILFUL AND KNOWING CONDUCT
 6

 7            63.     The Telephone Consumer Protection Act of 1991 (“TCPA”) was
 8    passed in order to regulate telemarketing and requires that no telemarketer may call
 9    any number registered on the National “Do-Not-Call” Registry without prior
10    express consent or a prior established business relationship.
11            64.     Defendant has intentionally violated the TCPA in a so-far successful
12    attempt to sell television services.
13            65.     Plaintiff has been harmed by the junk calls complained of herein by
14    the invasion of his privacy,
15            66.     Plaintiff has been harmed by the junk calls complained of herein by
16    the direct waste of his time during the call itself, the indirect waste of time in
17    having to break from other important tasks and spend time catching up after the
18    junk call, the waste of telephone service which he and not Defendant must pay for,
19    the costs of having to pursue legal remedies, and in the aggravation and consequent
20    health effects of stress these illegal intrusions have caused.
21            67.     Plaintiff has been harmed by the calls he did not answer by the direct
22    waste of his time in having to check the Caller ID while he was busy in meetings
23    or with other projects before declining the call, the indirect waste of time in having
24    to break from other important tasks and spend time catching up after these junk
25    calls, the waste of telephone service which he and not Defendant must pay for, the
26    costs of having to pursue legal remedies, and in the aggravation and consequent
27    health effects of stress these illegal intrusions have caused.
28



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                                                     Complaint
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 1            68.     During each of Defendant’s calls, Plaintiff wanted to make or receive
 2    a call to/from someone else for his own personal or business reasons and was
 3    blocked from doing so by the line being tied up by Defendant.
 4            69.     As a proximate result of these intrusions, Plaintiff suffered and
 5    invasion of his privacy because the call should never have been transmitted to him
 6    and rang his private phone at his private residence.
 7            70.     Plaintiff alleges on information and belief that Defendant made the
 8    calls described above intentionally, in the sense that the number called was the one
 9    they meant to call in pitching their services.
10            71.     Plaintiff alleges on information and belief that Defendant made the
11    calls described above knowing that they were made in contravention of the TCPA
12    and other telemarketing laws and regulations.
13

14                                CLASS ACTION ALLEGATIONS
15

16            72.     Description of the Class: Plaintiffs bring this class action against
17    Defendant for injunctive relief and damages and all other relief available at law
18    and in equity on behalf of themselves and members of the following class of
19    persons:
20            class 1:
21            All persons and entities located within the United States of America who
22            claim to be able to provide a phone bill or statement showing they were a
23            residential telephone subscriber and that their number was registered on the
24            National Do-Not-Call Registry to whose residential telephone Defendant
25            and/or its agents transmitted two or more telemarketing calls in one
26            calendar year without prior express written consent from the called party or
27            an ‘existing business relationship’ at any time from August 29, 2018 to the
28            present, including up to and through trial.

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                                                     Complaint
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 1

 2            73.     Excluded from the Class are governmental entities, Defendant, any
 3    entity in which Defendant have a controlling interest, and Defendant’ officers,
 4    directors, affiliates, legal representatives, employees, co-conspirators, successors,
 5    subsidiaries, and assigns. Also excluded from the Class is any judge, justice, or
 6    judicial officer presiding over this matter and the members of their immediate
 7    families and judicial staff.
 8            74.     Plaintiffs reserve the right to modify the Class description and the
 9    Class period based on the results of discovery.
10            75.     Numerosity: The proposed Class is so numerous that individual
11    joinder of all its members is impracticable. Due to the nature of the evidence of
12    the number of calls made by Defendant, Plaintiffs believe that the total number of
13    Class members is at least in the tens of thousands and members and the members
14    are geographically dispersed across California and the United States. While the
15    exact number and identities of the Class members are unknown at this time, such
16    information can be ascertained through appropriate investigation and discovery,
17    namely through Defendant’ call records. The disposition of the claims of the Class
18    members in a single class action will provide substantial benefits to all parties and
19    to the Court.
20            76.     Common Questions of Law and Fact Predominate: There are
21    many questions of law and fact common to the representative Plaintiff and the
22    Class, and those questions substantially predominate over any questions that may
23    affect individual Class members. Common questions of fact and law include, but
24    are not limited to, the following:
25            a.      Whether Defendant transmitted two or more sales calls in any one
26            calendar year to numbers on the National “Do-Not-Call” Registry.
27

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                                                     Complaint
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 1             b.     Whether Defendant transmitted these calls without prior express
 2             consent from the owners of those lines or a business relationship with them
 3             established before the calls were made.
 4             c.     Whether the transmission of these calls was done willfully or
 5             knowingly by Defendant.
 6             d.     Whether agency relationships giving rise to TCPA liability exist
 7             amongst and between Defendant and its agents.
 8             77.    Typicality: Plaintiffs’ claims are typical of the claims of the
 9    members of the Class. Plaintiffs and all members of the Class have been similarly
10    affected by Defendant’ common course of conduct since Defendant’ have
11    repeatedly called the Class to sell their financial products.
12             78.    Adequacy of Representation: Plaintiffs will fairly and adequately
13    represent and protect the interests of the Class. Plaintiffs have retained counsel
14    with experience in handling complex litigation who has been previously certified
15    as class counsel. Plaintiffs and their counsel are committed to vigorously
16    prosecuting this action on behalf of the Class and have the financial resources to do
17    so. Neither Plaintiffs nor their counsel have any interests adverse to those of the
18    Class.
19             79.    Superiority of a Class Action: Plaintiffs and the members of the
20    Class suffered, and will continue to suffer, intangible and tangible harm as a result
21    of Defendant’s unlawful and wrongful conduct. A class action is superior to other
22    available methods for the fair and efficient adjudication of the present controversy.
23    Individual joinder of all members of the class is impractical. Even if individual
24    class members had the resources to pursue individual litigation, it would be unduly
25    burdensome to the courts in which the individual litigation would proceed.
26    Individual litigation magnifies the delay and expense to all parties in the court
27    system of resolving the controversies engendered by Defendant’s common course
28    of conduct. The class action device allows a single court to provide the benefits of

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                                                     Complaint
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 1    unitary adjudication, judicial economy, and the fair and efficient handling of all
 2    class members’ claims in a single forum. The conduct of this action as a class
 3    action conserves the resources of the parties and of the judicial system and protects
 4    the rights of the class member. Furthermore, for many, if not most, a class action
 5    is the only feasible mechanism that allows therein an opportunity for legal redress
 6    and justice
 7            80.     Adjudication of individual class member’s claims with respect to
 8    Defendant would, as a practical matter, be dispositive of the interests of other
 9    members not parties to the adjudication and could substantially impair or impede
10    the ability of other class members to protect their interests.
11

12                                        CAUSES OF ACTION
13

14                     FIRST CAUSE OF ACTION: TCPA VIOLATION
15     CALL TO NUMBER ON THE NATIONAL “DO-NOT-CALL” REGISTRY
16                                 (On Behalf of the Plaintiff Class)
17

18            81.     Plaintiffs reallege all paragraphs above and incorporates them herein
19    by reference.
20            82.     Plaintiffs are bringing this action pursuant to the provisions of the
21    Telephone Consumer Protection Act of 1991 (47 U.S.C. §227 and 47 C.F.R.
22    §64.1200 – “TCPA”).
23            83.     Subdivision (c) (2) of Section 64.1200 of Title 47 of the Code of
24    Federal Regulations makes it unlawful for any person to “initiate any telephone
25    solicitation” to “A residential telephone subscriber who has registered his or her
26    telephone number on the national do-not-call registry of persons who do not wish
27    to receive telephone solicitations.”
28



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      ________________________________________________________________________________________________________

                                                     Complaint
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 1            84.      At all times relevant to this complaint, Plaintiff had registered his
 2    residential telephone number on the national do-not-call registry maintained by the
 3    U.S. Government.
 4            85.      Defendant have called Plaintiff’s residential telephone line for
 5    solicitation purposes at least twice during a calendar year during the statutory
 6    period of the last 4 years, pursuant to 28 U.S.C. § 1658. These calls are the only
 7    calls known to Plaintiff at this time and Plaintiff states on information and belief,
 8    without yet having the aid of full discovery, that it is quite likely that Defendant
 9    has made many more violative calls to Plaintiff’s residential telephone line. These
10    calls were not made in error, nor did Defendant have express permission from
11    Plaintiff to call, nor did Defendant have a personal relationship with Plaintiff. 37
12    C.F.R. § 64.1200 (c) (i), (ii), & (iii).
13            86.      Subdivision (c)(5) of section 227 of title 47 of the United States Code
14    permits a private right of action in state court for violations the National “Do-Not-
15    Call” Registry rules promulgated thereunder. Plaintiff may obtain relief in the
16    form of injunctive relief or Plaintiff may recover up to $500.00 for each violation,
17    or both. If the court finds that Defendant' violations were willful or knowing, it
18    may, in its discretion, award up to three times that amount.
19

20            WHEREFORE Plaintiffs pray for judgment against Defendant, and each of
21    them, as follows:
22    On the FIRST CAUSE OF ACTION:
23          1.      For an award of $500.00 for each violation of 47 U.S.C. § 227(c)(2);
24          2.      For an award of $1,500.00 for each such violation found to have been
25                  willful;
26    On ALL CAUSES OF ACTION:
27          3.      For attorney’s fees pursuant to all applicable federal and state statutes;
28          4.      For costs of suit herein incurred; and

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                                                     Complaint
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 1          5.    For such further relief as the Court deems proper.
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 4
      DATED: August 29, 2022                                  PRATO & REICHMAN, APC
 5

 6                                                            /s/Christopher J. Reichman, Esq.
                                                              By: Christopher J. Reichman, Esq.
 7
                                                              Prato & Reichman, APC
 8                                                            Attorneys for Plaintiff,
 9
                                                              Paul Sapan

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